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                                        Exhibit A

                                     Proposed Order




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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE


         In re:                                                           Chapter 11

         MATTRESS FIRM, INC., et al.,1                                    Case No. 18-12241 (CSS)

                                    Debtors.                              (Jointly Administered)

                                                                          Ref. Docket No. __

                         FIFTH OMNIBUS ORDER (I) AUTHORIZING DEBTORS TO
                    (A) REJECT CERTAIN UNEXPIRED LEASES OF NONRESIDENTIAL
                      REAL PROPERTY NUNC PRO TUNC TO OCTOBER 31, 2018 AND
                    (B) ABANDON CERTAIN PERSONAL PROPERTY IN CONNECTION
                           THEREWITH AND (II) GRANTING RELATED RELIEF

                  Upon the motion (the “Motion”)2 of Mattress Firm, Inc. and its affiliated debtors and

         debtors in possession in the above-captioned chapter 11 cases (collectively, the “Debtors”) for

         entry of an order (this “Order”) (i) authorizing the Debtors to (a) reject the Leases set forth on

         Schedule 1 attached hereto, nunc pro tunc to the Rejection Date and (b) abandon the Remaining

         Property, effective as of the Rejection Date, and (ii) granting related relief, all as more fully set

         forth in the Motion; and the Court being able to issue a final order consistent with Article III of

         the United States Constitution; and venue of this proceeding and the Motion being proper

         pursuant to 28 U.S.C. §§ 1408 and 1409; and appropriate notice of and the opportunity for a

         hearing on the Motion having been given and it appearing that no other or further notice need be

         provided; and this Court having reviewed the Motion and having heard the statements in support

         of the relief requested therein at a hearing before this Court; and all objections, if any, to the

         1
           The last four digits of Mattress Firm, Inc.’s federal tax identification number are 6008. The Debtors’ mailing
         address is 10201 S. Main Street, Houston, Texas 77025. Due to the large number of Debtors in these chapter 11
         cases, which are being jointly administered, a complete list of the Debtors and the last four digits of their federal tax
         identification numbers is not provided herein. This information may be obtained on the website of the Debtors’
         noticing and claims agent at http://dm.epiq11.com/MattressFirm or by contacting counsel for the Debtors.
         2
          All capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the
         Motion.
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         Motion having been withdrawn, resolved or overruled; and the relief requested in the Motion

         being in the best interests of the Debtors’ estates, their creditors and other parties in interest; and

         this Court having determined that the legal and factual bases set forth in the Motion establish just

         cause for the relief granted herein; and after due deliberation and sufficient cause appearing

         therefor, it is HEREBY ORDERED THAT:

                1.      The Motion is GRANTED as set forth herein.

                2.      The Debtors are authorized to reject the Leases set forth on the attached

         Schedule 1, effective as of the Rejection Date, pursuant to sections 105(a) and 365(a) of the

         Bankruptcy Code and Bankruptcy Rules 6006 and 6007.

                3.      The Debtors are authorized, but not directed, to abandon any Remaining Property

         located at the Closing Stores subject to the Leases, in the Debtors’ sole discretion, free and clear

         of all liens, claims, encumbrances and rights of third parties, with such abandonment being

         effective as of the Rejection Date. The landlords under the Leases are authorized to dispose of

         any Remaining Property without further notice or any liability to the Debtors or any third parties

         and without waiving any claims against the Debtors. The automatic stay is modified to the

         extent necessary to allow the disposition of any Remaining Property.

                4.      Within two business days after entry of this Order, the Debtors shall serve a copy

         of this Order and the attached Schedule 1 on the landlords under the Leases.

                5.      The landlords under the Leases must file a proof of claim relating to the rejection

         of such Leases, if any, by 5:00 p.m. (prevailing Eastern Time) on the date specified in the Notice

         of Effective Date to be filed by the Debtors with the Court, which will be available on the

         website of the Debtors’ noticing and claims agent at http://dm.epiq11.com/MattressFirm. Proofs

         of claim and instructions for submission will be provided with the Notice of Effective Date and


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         are also available on the website of the Debtors’ noticing and claims agent at

         http://dm.epiq11.com/MattressFirm.

                6.      Notwithstanding the relief granted in this Order and any actions taken pursuant to

         such relief, nothing in this Order shall be deemed: (a) an admission as to the validity, priority, or

         amount of any particular claim against a Debtor entity; (b) a waiver of the Debtors’ or any other

         party-in-interest’s rights to dispute any particular claim on any grounds; (c) a promise or

         requirement to pay any particular claim; (d) an implication or admission that any particular claim

         is of a type specified or defined in this motion; (e) a request or authorization to assume any

         agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code; (f) a waiver or

         limitation of the Debtors’ or any other party-in-interest’s rights under the Bankruptcy Code or

         any other applicable law; or (g) a concession by the Debtors or any other party-in-interest that

         any liens (contractual, common law, statutory, or otherwise) satisfied pursuant to this motion are

         valid and the Debtors and all other parties-in-interest expressly reserve their rights to contest the

         extent, validity, or perfection, or to seek avoidance of all such liens.

                7.      The Debtors do not waive any claims that they may have against any counterparty

         to the Leases, whether or not such claims arise under, are related to the rejection of, or are

         independent of the Leases.

                8.      Nothing herein shall prejudice the rights of the Debtors to argue that any of the

         Closing Store Leases were terminated prior to the Petition Date; that any claim for damages

         arising from the rejection of the Closing Store Leases is limited to the remedies available under

         any applicable termination provision of such Lease; or that any such claim is an obligation of a

         third party and not that of the Debtors or their estates.




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                9.       The contents of the Motion satisfy the requirements of Bankruptcy Rule 6003(b)

         because the relief granted in this Order is necessary to avoid immediate and irreparable harm to

         the Debtors’ estates.

                10.      Notice of the Motion shall be deemed good and sufficient notice of such Motion,

         and the requirements of Bankruptcy Rule 6004(a) and the Local Rules of Bankruptcy Practice

         and Procedure of the United States Bankruptcy Court for the District of Delaware are waived by

         such notice.

                11.      Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

         are immediately effective and enforceable upon its entry.

                12.      The Debtors are authorized to take all actions necessary to effectuate the relief

         granted in this Order in accordance with the Motion.

                13.      This Court retains exclusive jurisdiction with respect to all matters arising from or

         related to the implementation, interpretation and enforcement of this Order.


         Dated: ____________, 2018
         Wilmington, Delaware
                                                     CHRISTOPHER S. SONTCHI
                                                     CHIEF UNITED STATES                  BANKRUPTCY
                                                     JUDGE




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                                       Schedule 1

                                         Leases




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                                                             Schedule 11

                    STORE     COUNTERPARTY-LANDLORD AND                                                  PROPERTY
                                                                                 DEBTOR
                   NUMBER                     ADDRESS                                                     ADDRESS
                                 2013 Massey Boulevard, LLC 11535
             1.                             Hopewell Road                                            1730 Massey Blvd,
                   152005                                                      Sleepy's, LLC
                             ATTN: Mike Rhodes, Renal Representative                               Hagerstown, MD 21740
                                       Hagerstown, MD, 21741
                               2040 Coliseum Drive LLC c/o Coliseum
             2.                Crossing Associates LLC 41 Old Oyster                                2040 Coliseum Drive,
                   061170                                                      Sleepy's, LLC
                               Point Road, Suite A Newport News, VA,                                Hampton, VA 23666
                                                 23602
                             2119 Brandon, LLC 4107 W. Spruce Street,
                                                                                                    2119 W Brandon Blvd.
             3.                                 Suite 100                      Mattress Firm,
                   025081                                                                           Stes A-C, Brandon, FL
                                 ATTN: Sr. V.P., Retail Development                 Inc.
                                                                                                            33511
                                           Tampa, FL, 33607
                                         6800 Glenwood, LLC
             4.                                                                Mattress Firm,        6800 Glenwood Ave,
                   013025                   P.O. Box 37663
                                                                                    Inc.              Raleigh, NC 27612
                                          Raleigh, NC, 27627
                                   Amato Brothers Enterprises, Inc.
             5.                       c/o Elliott Associates, Inc.            The Sleep Train,       838 SW 4th Avenue,
                   526001
                                         901 NE Gilson Street                       Inc.             Portland, OR 97204
                                          Portland, OR, 97232
                                              Andie's, Inc.
             6.               c/o Cohen Commercial Management LLC              Mattress Firm,          1495 E Hwy 50,
                   053010
                                   712 US Highway One, Suite 205                    Inc.             Clermont, FL 34711
                                    North Palm Beach, FL, 33408
                                        Arbor Walk Mall, LLC
                                                                                                    10515 N Mopac Expwy
             7.               c/o M.s. Management Associates, Inc. 225         Mattress Firm,
                   004014                                                                                NB Ste 225
                                       West Washington Street                       Inc.
                                                                                                      Austin, TX 78759
                                        Indianapolis, IN, 46204
                                         ARC MFKXVTN002
                                     c/o American Realty Capital
             8.                                                                Mattress Firm,       4731 North Broadway,
                   058007                  405 Park Avenue
                                                                                    Inc.             Knoxville, TN 37918
                                      ATTN: Jesse C. Galloway
                                         New York, NY 10014
                                      ARC MFBSEID001, LLC
             9.                            c/o VEREIT, Inc.                    Mattress Firm,        8600 West Franklin,
                   082001
                                2325 East Camelback Road, Suite 1100                Inc.               Boise, ID 83709
                                          Phoenix, AZ, 85016
                                     ARC MFRKHSCOO1 LLC
                                           c/o VEREIT, Inc.
             10.                                                               Mattress Firm,         231 W. Day Rd,
                   102002       2325 East Camelback Road, Suite 1100
                                                                                    Inc.            Mishawaka, IN 46545
                                       ATTN: Ruth Cavallucci
                                          Phoenix, AZ, 85016
                                     ARC MFWSNNC001, LLC
                                           c/o VEREIT, Inc.
             11.                                                               Mattress Firm,      1702 Raleigh Road NW,
                   078001       2325 East Camelback Road, Suite 1100
                                                                                    Inc.             Wilson, NC 27896
                                       ATTN: Ruth Cavallucci
                                          Phoenix, AZ, 85016



         1
           The inclusion of a Lease on this list does not constitute an admission as to the executory or non-executory nature of
         the Lease, or as to the existence or validity of any claims held by the counterparty or counterparties to such Lease.
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                 STORE    COUNTERPARTY-LANDLORD AND                                              PROPERTY
                                                                          DEBTOR
                NUMBER                    ADDRESS                                                 ADDRESS
                              ARCP MF Fairview Park OH LLC
          12.                                                           Mattress Firm,      21581 Center Ridge Rd,
                105016      2325 East Camelback Road, Suite 1100
                                                                             Inc.           Rocky River, OH 44116
                                      Phoenix, AZ, 85016
                                  Bastrop Retail Partners, L.P.                               717 Highway 71 W,
          13.                                                           Mattress Firm,
                004029         100 E. Anderson Lane, Suite 200                               Suite 100, Bastrop, TX
                                                                             Inc.
                                       Austin, TX, 78752                                             78602
                           Battlefield Marketplace Associates, LLC
                                                                                               1402 N. Battlefield
          14.                        c/o Palms Associates                  Maggie's
                061006                                                                       Blvd., Chesapeake, VA
                         397 Little Neck Road, Bldg 3400, Suite 200    Enterprises, LLC
                                                                                                     23320
                                  Virginia Beach, VA, 23452
                          Bear Valley Partners & Western Signature
          15.                           Properties, Inc.               The Sleep Train,     4402 N. Division Street,
                101010
                                 1915-A East Katella Avenue                  Inc.            Spokane, WA 99207
                                      Orange, CA, 92867
                                  Belden Park Delaware LLC
          16.                                                           Mattress Firm,       4349 Everhard Rd, Ste.
                105006    c/o Stark Enterprises 1350 West 3rd Street
                                                                             Inc.             1, Canton, OH 44718
                                     Cleveland, OH, 44113
                               BIG Creekwood Commons, LLC
                             c/o RED Property Management, LLC
          17.                                                           Mattress Firm,      203 NE Englewood Rd,
                009019          840 NW Blue Parkway, Suite B
                                                                             Inc.           Kansas City, MO 64118
                                  ATTN: Kathy Nietzke Lee's
                                      Summit, MO, 64086
                                    Blackbob Corner, LLC,
                                  c/o Block & Company, Inc.
          18.                                                           Mattress Firm,       14910 W. 119th Street,
                009026          605 West 47th Street, Suite 200
                                                                             Inc.              Olathe, KS 66062
                                   ATTN: Property Manager
                                   Kansas City, MO, 64112
                                 Broadway Crossings II, LLC
                                  c/o TKG Management, Inc.
          19.                                                           Mattress Firm,      2900 Trimble Suite 101,
                074003           211 North Stadium, Suite 201
                                                                             Inc.            Columbia, MO 65201
                           ATTN: Property Management Columbia,
                                          MO, 65203
                           Burgess Investments, LLC 40 Lockwood
          20.                                                           Mattress Firm,      1143 Woodruff Road Ste
                038030    Avenue ATTN: Scott Burgess Greenville,
                                                                             Inc.           A, Greenville, SC 29607
                                          SC, 29607
                         Capview Income & Value Fund IV LP 5910
          21.                                                           Mattress Firm,      112 E. 12300 S, Draper,
                066018      North Central Expressway, Suite 1625
                                                                             Inc.                  UT 84020
                                       Dallas, TX, 75206
                                                                                             144 Moreland Avenue,
          22.             CAS POLLER, LLC 210 Sandy Springs             Mattress Firm,
                007130                                                                        Ste. A, Atlanta, GA
                              Place NE Atlanta, GA, 30328                    Inc.
                                                                                                     30307
                                   Centerpoint Owner LLC
          23.                 c/o Stonemar Realty Management            Mattress Firm,        3583 28th Street SE
                103003
                              32 Union Square East, Suite 1100               Inc.           Grand Rapids, MI 49512
                                    New York, NY, 10003
                                   Central Park Retail, LLC
                                                                          Mattress             3546 Plank Road,
          24.                    c/o Fredericksburg 35, LLC
                179060                                                  Discounters           Fredericksburg, VA
                         8405 Greensboro Drive, 8th Floor McLean,
                                                                       Operations LLC               22407
                                      VA, 22102-5121
                              Coconut Point Town Center, LLC                                  8016 Mediterranean
          25.                                                           Mattress Firm,
                051024    225 West Washington Street Indianapolis,                           Drive, #B01-A, Estero,
                                                                             Inc.
                                          IN, 46204                                                 FL 33928

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                 STORE   COUNTERPARTY-LANDLORD AND                                           PROPERTY
                                                                     DEBTOR
                NUMBER                   ADDRESS                                              ADDRESS
                                  Cole MF Danville, LLC
          26.             c/o VEREIT, Inc. 2325 East Camelback     Mattress Firm,          480 Mt. Cross Rd,
                017027
                                      Road, Suite 1100                  Inc.              Danville, VA 24540
                                    Phoenix, AZ, 85016
                                Cole MF Garden City, LLC
                                      c/o VEREIT, Inc.
          27.                                                      Mattress Firm,        6965 N. Glenwood St,
                082003          2325 East Camelback Road,
                                                                        Inc.             Garden City, ID 83714
                                          Suite 1100
                                    Phoenix, AZ, 85016
                                 Cole MF Nampa ID, LLC
                                      c/o VEREIT, Inc.
          28.                                                      Mattress Firm,         1610 Caldwell Blvd,
                082005          2325 East Camelback Road,
                                                                        Inc.               Nampa, ID 83651
                                          Suite 1100
                                    Phoenix, AZ, 85016
                         Columbia II Burnt Mills Shopping Center
                                             LLC
                                                                                         10727 Columbia Pike,
          29.                c/o Regency Centers Corporation
                179090                                              Sleepy's, LLC          Silver Spring, MD
                         One Independent Drive, Suite 114 ATTN:
                                                                                                 20901
                          Lease Administration Jacksonville, FL,
                                            32202
                         Columbia Land Development Co. 12343
                                                                                         4647 Great Northern
          30.                          Mulberry Circle             Mattress Firm,
                105008                                                                   Blvd, North Olmsted,
                                   ATTN: Jay L. Pierman                 Inc.
                                                                                              OH 44070
                                  Strongsville, OH, 44149
                         Conyers, LLC 3334 E. Coast Hwy, Suite
          31.                                                      Mattress Firm,         1285 Hwy 138 SE,
                007123                       520
                                                                        Inc.              Conyers, GA 30013
                                Corona del Mar, CA, 92625
                                   CTC Beaverton, LLC
                                     c/o Capshine, LLC
          32.                                                      The Sleep Train,      11943 SW Canyon Rd,
                526037             24143 Hillview Road
                                                                         Inc.             Beaverton, OR 97005
                                 ATTN: Rasoul M. Oskouy
                                   Los Altos, CA, 94024
                                       Curlew 19, LLC
          33.                     2801 Leprechaun Lane             Mattress Firm,         30323 US Hwy 19,
                025095
                                ATTN: Hale Dimetry Palm                 Inc.             Clearwater, FL 33761
                                     Harbor, FL, 34683
                                     Dash Family 2009
          34.                         5467 Bahia Lane              Mattress Firm,        774 Beal Pkwy, Fort
                065005
                                 ATTN: David Rottenberg                 Inc.            Walton Beach, FL 32457
                                    La Jolla, CA, 92037
                              DCTN3 368 Asheville NC, LLC
          35.                        c/o N3 Real Estate            Mattress Firm,          209 Tunnel Rd,
                038021
                                 1240 N. Kimball Avenue                 Inc.             Asheville, NC 28805
                                   Southlake, TX, 76092
                                   DDR Belgate LP 3300
          36.                                                                              7850 Tyner Street,
                024184              Enterprise Parkway              Sleepy's, LLC
                                                                                          Charlotte, NC 28262
                                  Beachwood, OH, 44122
                                         DSM Realty
          37.                                                                             301 Mariner Way,
                085010                  875 East Street             Sleepy's, LLC
                                                                                         Biddeford, ME 04005
                                  Tewksbury, MA, 01876




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                 STORE   COUNTERPARTY-LANDLORD AND                                             PROPERTY
                                                                        DEBTOR
                NUMBER                     ADDRESS                                              ADDRESS
                                Eastgate Shopping Center, Inc.
          38.                         c/o JJ Gumberg Co.              Mattress Firm,          5132 Route 30,
                077019
                                       1051 Brinton Road                   Inc.            Greensburg, PA 15601
                                     Pittsburgh, PA, 15221
                                     Epis Investments LLC
                                                                                            3460 S US Hwy 27,
          39.                           8901 Earhart Ave              Mattress Firm,
                053092                                                                       Fruitland Park, FL
                                    ATTN: Joanne Orenski                   Inc.
                                                                                                    34731
                                    Los Angeles, CA, 90045
                                     Fairlawn Station LLC
          40.                  c/o Phillips Edison & Company          Mattress Firm,        2671 W. Market St.,
                105014
                                     11501 Northlake Drive                 Inc.             Fairlawn, OH 44333
                                     Cincinnati, OH, 45249
                          Fairview Heights LM Properties, LLC c/o
                            Lenette Realty & Investment Company
                                                                                             6407 North Illinois
          41.              1401 South Brentwood Boulevard, Suite      Mattress Firm,
                018024                                                                    Street, Fairview Heights,
                                              520                          Inc.
                                                                                                   IL 62208
                                    ATTN: Jerry Bynum St.
                                       Louis, MO, 63005
                                     Frandorson Properties
                                                                                            3415 E. Saginaw St.,
          42.                  300 Frandor Avenue, 2nd Floor          Mattress Firm,
                104002                                                                     Lansing Township, MI
                                      ATTN: Patrick Corr                   Inc.
                                                                                                  48912
                                      Lansing, MI, 48912
                                    FRG SC5 Beacon LLC
                                                                         Mattress
          43.                   c/o Bozzuto Management Co.                                 6870 Richmond Hwy,
                179077                                                 Discounters
                                   6870 Richmond Highway                                   Alexandria, VA 22306
                                                                      Operations LLC
                                    Alexandria, VA, 22306
                                  3150 Long Beach Rd, LLC
          44.                     c/o United Properties Corp.                             3150 Long Beach Road,
                163003                                                 Sleepy's, LLC
                               1975 Hempstead Turnpike, 309                                Oceanside, NY 11572
                                   East Meadows, NY 11554
                                       Giant Dayton LLC
          45.                       1806 N. Franklin Street           Mattress Firm,      14 N. Springboro Pike,
                034006
                                ATTN: Property Administrator               Inc.           Miamisburg, OH 45342
                                       Tampa, FL, 33602
                                         Gold Crest LLC
                                                                                           4513 Commonwealth
          46.                     c/o Harding and Associates
                171013                                                 Sleepy's, LLC         Center Parkway,
                                   5006 Monument Avenue
                                                                                           Midlothian, VA 23112
                                     Richmond, VA, 23230
                           Grace Ridge Gateway Terrace Durham,
                                            LLC c/o                                        3219 Watkins Rd, Ste
          47.                                                         Mattress Firm,
                013055    Winning Link Properties Resources 1400                          102 & 103, Durham, NC
                                                                           Inc.
                           Eastchester Drive, Suite 104 High Point,                               27707
                                           NC, 27262
                                    Grand Rapids One, LLC
                                                                                           3303 Alpine Avenue
          48.                           c/o VenturePoint              Mattress Firm,
                103005                                                                    NW, Grand Rapids, MI
                         4685 MacArthur Court, Suite 375 Newport           Inc.
                                                                                                 49544
                                       Beach, CA, 92660
                                   Greentree Plaza 06, LLC                                305 South East Everett
          49.                                                         The Sleep Train,
                508055   c/o ACF Property Management, Inc. 12411                          Mall Way, Everett, WA
                                                                            Inc.
                         Ventura Boulevard Studio City, CA, 91604                                98208




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                 STORE    COUNTERPARTY-LANDLORD AND                                             PROPERTY
                                                                         DEBTOR
                NUMBER                     ADDRESS                                               ADDRESS
                                      Greenway Plaza LLC
                                 c/o Combined Properties, Inc.
          50.                                                                               7495 Greenbelt Road,
                179110          1025 Thomas Jefferson St. NW,          Sleepy's, LLC
                                                                                            Greenbelt, MD 20770
                                            Suite 700
                                  East Washington, DC, 20007
                                    Hamilton Place VI, LLC
                                                                                            2041 Hamilton Place
          51.                          1550 Highway 126                Mattress Firm,
                058015                                                                     Drive, Johnson City, TN
                                       ATTN: KD Moore                       Inc.
                                                                                                    37604
                                       Bristol, TN, 37620
                                     Highlands Stations LLC
                          c/o The Phillips Edison Group LLC 11501
          52.                                                                              25 Robert Drive, South
                173003                  Northlake Drive                Sleepy's, LLC
                                                                                             Easton, MA 02375
                          ATTN: Robert F. Myers, COO Cincinnati,
                                           OH, 45249
                                  Intermountain Centre I, LLC
                                                                                            2191 South 300 West
          53.                         4571 Holladay Blvd.              Mattress Firm,
                066001                                                                       Ste 1A-B, Salt Lake
                          ATTN: Matthew P. Steiner, Manager Salt            Inc.
                                                                                               City, UT 84115
                                      Lake City, UT, 84117
                                IRC Bradley Commons, L.L.C.
                                  c/o IRC Retail Centers, LLC                              2062-2064 State Route
          54.                                                          Mattress Firm,
                119047          814 Commerce Drive, Suite 300                               50, Bourbonnais, IL
                                                                            Inc.
                           ATTN: President, Property Management                                   60914
                                      Oak Brook, IL, 60523
                                    James and Norva Fagan c
          55.                  c/o McKee Realty Company, Inc.          Mattress Firm,        717 S. Kings Dr,
                024050
                                        P.O. Box 34753                      Inc.            Charlotte, NC 28204
                                      Charlotte, NC, 28234
                                    JLV Reagan South, LLC
                                                                                           515 Peachtree Parkway,
          56.                   c/o Retail Planning Corporation        Mattress Firm,
                007088                                                                       Bldg 600 Suite 602,
                         515 Peachtree Parkway Suite 600 Marietta,          Inc.
                                                                                            Cumming, GA 30041
                                           GA, 30041
                                     Joplin Crossroad, LLC
          57.                          2165 Louisa Drive               Mattress Firm,       4051 Division St., St.
                080020
                                     ATTN: Owen C. Ewing                    Inc.             Cloud, MN 56301
                                   Belleair Beach, FL, 33786
                                         Kariblue LLC                                        1907 S Glenburnie
          58.   076177           105 E. Victoria Court, Suite D        Sleepy's, LLC        Road, New Bern, NC
                                     Greenville, NC, 27858                                         28562
                             KIMCO Raleigh Limited Partnership
          59.                    c/o Kimco Realty Corporation                              6120 Glenwood Avenue,
                013180                                                 Sleepy's, LLC
                         3333 New Hyde Park Road, Suite 100 New                              Raleigh, NC 27612
                                  Hyde Park, NY, 11042-0020
                                      KRG Oleander, LLC
                                                                                            3804 Oleander Drive
          60.                      c/o Kite Realty Group, LP
                076170                                                 Sleepy's, LLC       Suite #102, Wilmington,
                         30 South Meridian, Suite 1100 Indianapolis,
                                                                                                  NC 28403
                                            IN, 46204
                                      Landmark HHH, LLC
                                                                          Mattress           6198 B Little River
          61.                      c/o HHH Properties Corp.
                179081                                                  Discounters         Tpke, Alexandria, VA
                                    4001 Williamsburg Court
                                                                       Operations LLC              22312
                                       Fairfax, VA, 22032




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                 STORE    COUNTERPARTY-LANDLORD AND                                           PROPERTY
                                                                        DEBTOR
                NUMBER                    ADDRESS                                              ADDRESS
                                   LDM Investments, LLC
          62.             c/o Capital Associates Management, LLC      Mattress Firm,      9662 Chapel Hill Road,
                013057
                                 5400 Trinity Road, Suite 105              Inc.           Morrisville, NC 27560
                                      Raleigh, NC, 27607
                                Lincoln Place SC Owner LLC
                                    c/o Acadia Realty Trust
                                                                                          5961 N Illinois Street ,
          63.                   411 Theodore Fremd Avenue,            Mattress Firm,
                018028                                                                     Fairview Heights, IL
                                           Suite 300                       Inc.
                                                                                                  62208
                                ATTN: Property Management
                                        Rye, NY, 10580
                         Lost Pines Shopping Center Associates c/o
                                                                                          494 Highway 71 West,
          64.                     Sequoia Land Investments            Mattress Firm,
                004042                                                                    Ste. 100, Bastrop, TX
                                      1C Gate Five Road                    Inc.
                                                                                                  78602
                                     Sausalito, CA, 94965
                                     LSL Hammond, LLC
                                                                                            2807 West Thomas
          65.                      7290 Lemon Grass Drive             Mattress Firm,
                042009                                                                     Street, Hammond, LA
                                        ATTN: Manager                      Inc.
                                                                                                    70401
                                      Parkland, FL, 33076
                             MCP West Broad Marketplace LLC
                                c/o Rosenthal Properties, LLC
          66.                                                                             12220 W Broad Street,
                171028   1945 Old Gallows Road, Suite 300 ATTN:        Sleepy's, LLC
                                                                                          Richmond, VA 23233
                                     Property Management
                                      Vienna, VA, 22182
                                   Mullinax Properties, LLC
          67.                       12016 N. Denver Drive             The Sleep Train,     301 W. Broadway,
                132006
                                     ATTN: Ken Mullinax                     Inc.          Moses Lake, WA 98837
                                     Spokane, WA, 99218
                                Narcoossee Acquisitions, LLC                               8236 Lee Vista Blvd
          68.                                                         Mattress Firm,
                053045            8236-8288 Lee Vista Blvd.                                 Suites A1 thru A3,
                                                                           Inc.
                                      Orlando, FL, 32829                                    Orlando, FL 32829
                                National Retail Properties, Inc.
          69.               450 South Orange Avenue, Suite 900        Mattress Firm,        8686 Florline Blvd,
                042001
                         ATTN: Vice President - Asset Management           Inc.           Baton Rouge, LA 70815
                                      Orlando, FL, 32801
                                   NECG Mallside BH LLC
                                                                                           198 Maine Mall Road,
          70.                        c/o NE Capital Group
                085011                                                 Sleepy's, LLC        South Portland, ME
                              1 Hillcrest Center Drive, Suite 310
                                                                                                  04106
                                  Spring Valley, NY, 10997
                                      Orange Fields, LLC                                  13129 S Tryon St, Ste.
          71.                                                         Mattress Firm,
                024059               504 Broadway Street                                   120, Charlotte, NC
                                                                           Inc.
                                     Quantico, VA, 22134                                         28278
                                 Pacific National Group LLC
          72.                         c/o MPV Properties              Mattress Firm,        1901 South Blvd,
                024039
                         2400 South Boulevard, Suite 300 Charlotte,        Inc.            Charlotte, NC 28203
                                           NC, 28203
                                     PHD @ Capital, LLC
          73.                           3930 Max Place,               Mattress Firm,        5501 Capital Blvd.,
                013050
                                     ATTN: Lease Admin,                    Inc.             Raleigh, NC 27616
                                  Boynton Beach, FL 33436




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                 STORE   COUNTERPARTY-LANDLORD AND                                              PROPERTY
                                                                         DEBTOR
                NUMBER                    ADDRESS                                                ADDRESS
                                    PHD @ College, LLC
                                  c/o MSP Enterprises, Inc.                                 311 S College Road
          74.   076171                  3930 Max Place                 Sleepy's, LLC       Suite 120, Wilmington,
                             ATTN: Kimberly Hill, Comptroller                                     NC 28403
                                  Boynton Beach, FL, 33436
                                    Pinnacle North II LLC                                   475 Pinnacle Parkway,
          75.                                                          Mattress Firm,
                058014            601 State Street, 6th Floor                               Space 780, Bristol, TN
                                                                            Inc.
                                      Bristol, VA, 24201                                            37620
                                      PKB Company c/o
                                                                                           1202 N. Brightleaf Blvd,
          76.                  Realtylink LLC (Smithfield, NC)         Mattress Firm,
                013043                                                                      Ste C, Smithfield, NC
                               550 South Main Street, Suite 300             Inc.
                                                                                                    27577
                                    Greenville, SC, 29601
                                       PSC Hilltop, LLC                                      1657 Laskin Road,
          77.                                                             Maggie's
                061033            15 Walker Ave, Suite 200                                   Virginia Beach, VA
                                                                      Enterprises, LLC
                                    Baltimore, MD, 21208                                            23451
                          Ramco Gershenson Properties LP 31500
                                                                                           9220 Hudson Road, Ste
          78.                       Northwestern Highway,              Mattress Firm,
                080010                                                                      706, Woodbury, MN
                                           Suite 300                        Inc.
                                                                                                  55125
                                 Farmington Hills, MI, 48334
                                     Regency Centers, LP
                              c/o Regency Centers Corporation
          79.                                                          Mattress Firm,      2470 W Brandon Blvd,
                025089    One Independent Drive, Suite 114 ATTN:
                                                                            Inc.            Brandon, FL 33510
                           Lease Administration Jacksonville, FL,
                                          32202-5019
                         Reldart LLC c/o RD Management LLC 810                             39 Faunce Corner Road,
          80.   173013             Seventh Ave, 10th Floor             Sleepy's, LLC        North Dartmouth, MA
                                    New York, NY, 10019                                            02747
                                     Rowan Summit, LLC
                                                                                             120 Rowan Summit
          81.                     c/o The Hutton Company               Mattress Firm,
                024049                                                                          Drive, Ste 100,
                                       736 Cherry Street                    Inc.
                                                                                             Salisbury, NC 28146
                                   Chattanooga, TN, 37402
                               RTG Furniture Corp. of Georgia
                                                                                            7558 River Avenue ,
          82.              400 Perimeter Center Terrace, Suite 800     Mattress Firm,
                040020                                                                      North Charleston, SC
                         ATTN: Jeffrey H. Finkel & Peter Weitzner           Inc.
                                                                                                   29406
                                      Atlanta, GA, 30346
                            Ruth I. Stanton, Trustee of the Ruth I.
                            Stanton Revocable Living Trust, dated                            10800 SE 82nd Ave,
          83.                                                          Sleep Country
                526017                September 5, 1990                                       Happy Valley, OR
                                                                        USA, LLC
                                    30300 NE Canter Lane                                           97086
                                    Sherwood, OR, 97140
                         RVT Wrangleboro Consumer Square LLC
                                        c/o DDR Corp.                                      2300 Wrangleboro Road
          84.   162039             3300 Enterprise Parkway             Sleepy's, LLC          Suite 400, Mays
                         ATTN: Executive Vice President - Leasing                            Landing, NJ 08330
                                   Beachwood, OH, 44122
                                  SAM Wards Corner, LLC
          85.                     c/o Suburban Capital, Inc.                               7550 Granby Street Suite
                061189                                                 Sleepy's, LLC
                                     3600 Pacific Avenue                                    50, Norfolk, VA 23505
                                 Virginia Beach, VA, 23451
                                     SCGIII - Sunset, LLC
          86.             3715 Northside Parkway Northcreek 200,       Mattress Firm,       5225-C Sunset Blvd,
                033011
                                           Suite 650                        Inc.            Lexington , SC 29072
                                      Atlanta, GA, 30327
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                 STORE   COUNTERPARTY-LANDLORD AND                                            PROPERTY
                                                                       DEBTOR
                NUMBER                    ADDRESS                                              ADDRESS
                               SCGVII-ST. ANDREWS, LLC
          87.             c/o South Coast Management, LLC P.O.                           19930 W Catawba Ave,
                024191                                                Sleepy's, LLC
                                         Box 724498                                       Cornelius, NC 28031
                                      Atlanta, GA, 31139
                               Shaw Blackstone Center, LLC
          88.                                                        The Sleep Train,    50 E. Shaw Ave, Fresno,
                504016           400 Oyster Point, Suite 123
                                                                           Inc.                 CA 93710
                                So. San Francisco, CA, 94080
                                  Southgate Shoppes, LLC
                                                                                         1909 Landstown Centre
          89.                     c/o Michael D. Sifen, Inc.
                061190                                                Sleepy's, LLC      Way Suite 140, Virginia
                                 2929 Sabre Street, Suite 500
                                                                                           Beach, VA 23456
                                 Virginia Beach, VA, 23452
                                SP6, LLC 2511 Encino Lane
          90.                                                        Mattress Firm,       8735 Hwy 6, Missouri
                001194              ATTN: Kathryn Farris
                                                                          Inc.               City, TX 77459
                                   Sugar Land, TX, 77478
                            Staples Mill Square Associates, LLC
          91.              c/o Marchetti Properties, LLC 1567 N.                         9057 Staples Mill Road,
                171003                                                Sleepy's, LLC
                                         Parham Road                                      Richmond, VA 23228
                                    Richmond, VA, 23229
                                     Stirling Davie, LLC
                                                                                          9030 Albemarle Road,
          92.                   305 Riverwood Parkway, SE,           Mattress Firm,
                024061                                                                    Unit C, Charlotte, NC
                                           Suite 450                      Inc.
                                                                                                  28227
                                      Atlanta GA, 30339
                         Sucole, LLC c/o KIN Properties, Inc. 185
          93.                                                                               5301 Route 42,
                162042    NW Spanish River Boulevard, Suite 100       Sleepy's, LLC
                                                                                         Turnersville, NJ 08012
                                   Boca Raton, FL, 33431
                                   Summit Apartments Inc.                                 3843 William Penn
          94.                                                        Mattress Firm,
                077022               3000 Lilian Avenue                                  Highway, Monroeville,
                                                                          Inc.
                                   Murrysville, PA, 15668                                     PA 15146
                                Texas Baybrook Square, LLC
                          c/o Principal Real Estate Investors 8010
          95.                                                        Mattress Firm,      1331 W. Bay Area Blvd,
                001144                  Grand Avenue
                                                                          Inc.             Webster, TX 77598
                             ATTN: Central States Equity Team
                                   Des Moines, IA, 50392
                                       TMB Retail, LLC
                                     c/o Kidder Matthews                                   6001 Tacoma Mall
          96.                                                        The Sleep Train,
                508012           1201 Pacific Avenue, #1400                                Blvd., Tacoma, WA
                                                                           Inc.
                                      ATTN: Bill Frame                                            98409
                                     Tacoma, WA, 98402
                         University Crossing Shopping Center, LLC
          97.                 5670 Wilshire Blvd., Suite 1250        Mattress Firm,       376 East 1300 South,
                066019
                                    ATTN: Steven Usdan                    Inc.              Orem, UT 84097
                                   Los Angeles, CA, 90036
                                Windmill Place Station, LLC
          98.                                                        Mattress Firm,        2014 W Wilson St,
                119160     c/o Phillips Edison & Company 11501
                                                                          Inc.             Batavia, IL 60510
                          Northlake Drive Cincinnati, OH, 45249
                            WM Associates Limited Partnership
                          c/o Greenberg Gibbons 10096 Red Run
          99.                                                                            12641 Ocean Gateway,
                159002              Boulevard, Suite 100              Sleepy's, LLC
                                                                                         Ocean City, MD 21842
                                  ATTN: Brian J. Gibbons
                                  Owings Mills, MD, 21117




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